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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

SCOTT H. KORN et al.,
Plaintiffs,
Vv. : Civil Action No. 2:19-cv-00226-CMR
CALIBER HOME LOANS, INC. et al.,

Defendants.

 

PRAECIPE TO SUBSTITUTE SUBPOENA
TO CLEAR CAPITAL [DOCKET 33] WITH CORRECTED SUBPOENA

TO THE CLERK OF COURT:

Kindly substitute the Notice of Subpoena to Clear Capital [Docket 33] filed with the Court
on March 2, 2020, with the corrected Notice of Subpoena appended hereto as Exhibit “A,” in the

above-captioned matter.
Respectfully submitted,

MITTS LAW, LLC

By:___/s/ Maurice R. Mitts
Maurice R. Mitts, Esquire
PA Attorney I.D. No. 50297
1822 Spruce Street
Philadelphia, PA 19103
Telephone: (215) 866-0112
Facsimile: (215) 866-0113
Email: mmitts@mittslaw.com
Dated: March 6, 2020
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EXHIBIT A
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

SCOTT H. KORN ef al.,
Plaintiffs,
v. 2 Civil Action No. 2:19-cv-00226-CMR
CALIBER HOME LOANS, INC. et al., :

Defendants.

 

NOTICE OF SUBPOENA TO CLEAR CAPITAL
PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 45, Plaintiffs
Scott H. Korn and Arlene A. Korn, by and through their attorneys, Mitts Law, LLC, intend to serve
a subpoena, in the form attached hereto, on Clear Capital on March 6, 2020, or as soon thereafter
as service may be effectuated. The subpoena calls for the production of documents, information,
or objects or to permit inspection of premises in a civil action pursuant to Exhibit A attached

hereto.

MITTS LAW, LLC

Dated: March 6, 2020 /s/ Maurice R. Mitts
Maurice R. Mitts, Esquire
Michael J. Duffy, Esquire
1822 Spruce Street
Philadelphia, PA 19103
(215) 866-0112 (telephone)
(215) 866-0113 (facsimile)
Attorneys for Plaintiffs
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Pennsylvania

Scott H. Korn, et al.

Plaintiff
Vv.
Caliber Home Loans, Inc., et al.

 

Civil Action No. 2:19-cv-00226-CMR

 

Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Clear Capital, 300 E. 2nd Street, Suite 1405, Reno, Nevada 89501

 

(Name of person to whom this subpoena is directed)

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material:
Please see Exhibit A to the attached Notice of Subpoena.

 

Place: TransPerfect, 200 S. Virginia Street, 8th Floor, Date and Time:
RenonNeesol 03/09/2020 10:00 am

 

 

© Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Time:

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK OF COURT
OR
/s/ Maurice R. Mitts

Signature of Clerk or Deputy Clerk Attorney's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiffs, Scott and Arlene Korn , who issues or requests this subpoena, are:

Maurice R. Mitts, Mitts Law, LLC, 1822 Spruce St. Phila. PA 19103 Ph: 215-866-0112 Email: mmitts@mittslaw.com

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

 

Civil Action No. 2:19-cv-00226-CMR

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

on (date)

(1 I served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) ; or

 

© I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$ =

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc.:
 

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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or @ party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions, A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attomey who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. [fan objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nora party's officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required, On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form, The
person responding need not produce the same electronically stored
information in more than one form.

(D) Jnaccessible Electronically Stored Information, The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b\(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) /nformation Produced, f information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it, After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

For access to subpoena materials, see Fed. R. Civ, P. 45(a) Committee Note (2013).

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

SCOTT H. KORN et al.,
Plaintiffs,
V. : Civil Action No. 2:19-cv-00226-CMR
CALIBER HOME LOANS, INC. et al., :

Defendants.

 

EXHIBIT A TO NOTICE OF SUBPOENA
TO CLEAR CAPITAL
DEFINITIONS

1. “Bank of America” or “Bank of America Homes Loans” refers to the division of
Bank of America Corporation that acquired the residential home loans previously held by
Countrywide Mortgage.

Ds, “Caliber Home Loans” or “Caliber” refer to Defendant Caliber Home Loans, Inc.
and all predecessor organizations and assignors.

3. “Communication” or “communications” means any writing or any oral
conversation, of any kind or character, including, by way of example and without limitation,
personal conversations, telephone conversations, letters, meetings, memoranda, electronic
communications, electronic messages or transmittals of documents, and all notes or other
documents concerning such writing or such oral conversation. The term “electronic
communications” shall be construed in the broadest sense permitted and, in particular, includes

all forms of e-mail with all related attachments, and shall include all non-identical copies thereof,
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including all electronic communications sent through e-mail accounts. This further includes, but
is not limited to:

a. Text messages, including but not limited to SMS messages;

b. Online instant messaging services, including but not limited to Facebook
Messenger, Skype, Hangouts, Yahoo Messenger, Kik, Snapchat, WhatsApp,
Viber and any proprietary or internal messaging system utilized by a party;

c. Social media posts, including but not limited to Facebook, Googlet,
YouTube, Instagram, Twitter, LinkedIn, Tumblr and Reddit; and

d. Any other online services or applications.

e. This further includes every manner of transmitting or receiving facts,
information, opinions, thoughts, or images from one person to another person,
whether orally, including by voice recording (such as in a telephone voicemail
system), or in writing.

4. “Countrywide” refers to Countrywide Mortgage, which was acquired by Bank of
America Corporation.

5. The terms “document” or “documents”, as used herein, mean the original and all
copies of any written, printed, typed or other graphic matter of any kind or nature and any other
tangible thing in your possession, custody and/or control, wherever located including, but not
limited to, any and all writings, drawings, graphs, charts, photographs, electronic mail and other
data processing files and computer readable records, programs, and all other data compilations or
information stored electronically or digitally in any form from which information can be
obtained, transcribed and/or translated. Any copy containing thereon or having attached thereto

any alterations, notes, comments, or other material not included in the originals or copies
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referred to in the preceding sentence shall be deemed a separate document within the foregoing

definition. The term “documents” includes, but is not limited to:

(a)

(b)

(c)

(d)
(e)
(f)

(g)
(h)

All contracts, agreements, letter agreements, representations, warranties,
certificates and opinions (whether written or oral);

All letters or other forms of correspondence or communication, including
envelopes and notes, telegrams, cables, telex messages and other
messages, including reports, notes, notations and memoranda of or relating
to telephone conversations or conferences;

All memoranda, reports, test results, financial statements or reports, notes,
scripts, transcripts, tabulations, studies, analyses, evaluations, projections,
work papers, corporate records or copies thereof, expressions or
statements of policy, lists, comparisons, questionnaires, surveys, charts,
graphs, summaries, extracts, statistical statements or records, publications,
compilations and opinions or reports of consultants;

All electronically stored information, as defined below;

All desk calendars, appointment books and diaries;

All minutes, records or transcripts of meetings and conferences, and lists
of persons attending meetings or conferences;

All reports and summaries of interviews and negotiations;

All books, articles, press releases, magazines, newspapers, booklets,
brochures, pamphlets, circulars, bulletins, notices, instructions and

manuals;
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(i) All motion pictures and photographs (whether developed or undeveloped),
tape recordings, microfilms, phonographs, tapes (including without
limitation analog or digital audio or video tapes using 8mm, DVD, VHS,
standard cassette, or other recording formats) or other records, punch
cards, magnetic tapes, discs, data cells, print outs and other data
compilations from which information can be obtained; and

Gj) Drafts of any document, revisions of drafts of any document and original
or preliminary notes.

6. The term “electronically stored information,” as used herein, means all files, data,
e-mails and attachments and any other information, which may be stored on hard drives, online
services, cloud drives, social media services, cell phones, servers, off-site data backups, magnetic
tapes (including without limitation computer or network back-up tapes and drives), data disks
(including without limitation floppy disks, hard disks, removable disks, thumb drives, SD cards,
compact discs, or DVDs), personal digital assistants, data cells, print-outs, and other data
compilations from which information can be obtained. This term shall encompass active,

archived and deleted e-mails, text messages and other electronically stored information or files.

7. “LSF9” refers to Defendant “LSF9 Master Participation Trust”.
8. “Ocwen” means Ocwen Financial Corporation.
9. The term “person,” as used herein, means any natural person, partnership,

corporation, LLC or other business entity and all present and former officers, directors, agents,
employees, attorneys and others acting or purporting to act on behalf of such natural person,
partnership, corporation or other business entity.

10. “Plaintiffs” shall refer to Scott H. Korn and Arlene A. Korn.
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11. The term “regarding” includes referring to, responding to, alluding to, concerning,
analyzing, reflecting, commenting on, relating, relating to, discussing, showing, describing,
reflecting, analyzing, constituting, including mentioning, comprising, bearing on, about, listing,
evidencing, in respect of, pertaining to, touching on, affecting, and/or having any logical or
factual connection, in whole or in part, directly or indirectly, with the subject matter within the
paragraphs of this Notice.

12. “Settlement Agreement” refers to the November 17, 2010 confidential settlement
agreement between Plaintiffs and Countrywide.

3). “You” and “Your” refer to Clear Capital.

INSTRUCTIONS

1. You are requested to produce all documents designated below which are
in Your possession, custody or control, or in the possession, custody or control of Your
counsel or any other person or entity acting or purporting to act in concert with You or on
Your behalf, wherever located.

2. In construing these Requests, You should give effect to the Definitions set
forth above. The Definitions apply whether or not the defined term is capitalized in the
request. Undefined words and terms should be given their common meaning. If You are
unsure of the definition of a particular word or term, You should use the definition that
You believe to be the most accurate and state that definition in Your response.

3. ESI should be produced in native form, with original metadata. Each
production of ESI should be accompanied by a metadata load file that contains links to
the produced files via “Native Link” data values, as well as the original file name, file

path, and MDS hash value for each produced file. Each native file should be renamed
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with a Bates number and delivered sequentially without gaps. Any ESI that is not text
searchable in native form should be rendered with OCR software to produce searchable
text. Any hard copy documents scanned or otherwise converted to electronic form and
produced in electronic form should be produced as single page TIFF images with
document-level (multipage) searchable text (.TXT) files, rendered with OCR software.
The source of the documents (e.g., hard copy, scanned documents) should be identified.
Load files for such productions should include document breaks which indicate the start
and stop of each Document, and sequential Bates numbering without gaps.

4, Each Document should be produced to include all attachments and
enclosures referred to in that Document or originally attached to or enclosed with that
Document.

5. Should You withhold any documents or communications responsive to
these Requests, You are requested to state the basis for withholding the documents and
communications in a manner sufficient to enable Plaintiffs and the Court to evaluate the
validity of Your withholding of such materials, including in the case of any documents
and communications withheld on the grounds of privilege or work product, the following
information for each document or communication:

a. The Request to which the document is responsive;
b. The title of the document;
c. The date appearing on the document, and if no date appears thereon, so

state and give the date, or approximate date, on which the document was

prepared;

d. The type or general nature of the document (i.e., whether it is a letter,
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memorandum, minutes of a meeting, etc.);

e. The name, title, and affiliation of each person who prepared or assisted in
the preparation of the document;

f. The name, title, and affiliation of each person who signed the document;

g. The name, title, and affiliation of each person to whom the document was
disclosed, including the person or persons to whom it was addressed and

the person or persons to whom the document, or copies of the document,

were sent;

h. The name, title, and affiliation of the person or persons who maintain
custody of the document; and
i. The general subject matter of the document and the basis for withholding

the document, in a manner sufficient for Plaintiffs and the Court to

determine the validity of Your claim of privilege and/or work product.

6. If any document requested herein was formerly in Your possession,
custody or control and has been lost, destroyed or otherwise disposed of, You are directed
to submit in lieu of each such document a written statement: (a) describing in detail the
nature of the document and its contents; (b) identifying the person(s) who prepared or
authored the documents and, if applicable, the person(s) to whom the document was sent
or shown; (c) specifying, if possible, the date on which the document was lost or
destroyed and, if destroyed, the conditions of and reason(s) for such destruction and the
person(s) requesting and performing the destruction, their employer(s) and positions.

7. Your response to each Request shall be set forth separately in writing. If,

after a good faith, diligent search for the documents requested herein, You conclude that
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there never have been any documents in existence responsive to a particular Request, so
state.

8. These Requests are deemed to be continuing in nature so as to require
prompt supplemental responses if You obtain or discover additional documents or
information between the time of Your initial response to these Requests and the time of
trial.

9. Unless otherwise indicated, the time period covered by these Requests is

from January 1, 2010, through the present.

 

DOCUMENT REQUESTS
1. All documents within Your possession relating to the relationship between You
and Plaintiffs.
2. All documents within Your possession relating to the relationships between and

among You and Bank of America, Countrywide, Caliber, Ocwen, and/or LSF9.

By All documents within Your possession relating to the relationship between and
among You and Gerard Maddrey.

4. All appraisal reports and documents for any and all appraisals You conducted for

the property located at 1233 Meadowbank Road, Villanova, Pennsylvania 19085.

Be All communications between You and Plaintiffs or any third party on behalf of
Plaintiffs.
6. All Clear Capital communications regarding Plaintiffs, any and all appraisals for

the property located at 1233 Meadowbank Road, Villanova, Pennsylvania 19085, and/or the
subject matter of this litigation.

7. All communications between You and Caliber, including all communications
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between you and Caliber’s in-house legal department/Joseph Krause, regarding Plaintiffs, any
and all appraisals of the property located at 1233 Meadowbank Road, Villanova, Pennsylvania
19085, and/or the subject matter of this litigation.

8. All communications relating to all requests made to You by anyone to modify the
appraisal value/report for the property located at 1233 Meadowbank Road, Villanova,
Pennsylvania 19085.

9. All documents relating to any and all modifications of appraised value/reports for
the property located at 1233 Meadowbank Road, Villanova, Pennsylvania 19085.

10. All documents within Your possession related to the property located at 1233
Meadowbank Road, Villanova, Pennsylvania 19085.

11. | All communications between You and LSF9 Master Participation Trust regarding

the subject matter of this litigation.

12. All communications between You and Ocwen regarding the subject matter of this
litigation.
13. All communications between You and Bank of America regarding the subject

matter of this litigation.

14. All documents regarding the number of jobs/referrals You received from Caliber
from 2010 through present, and the percentage of your business these comprised.

15. All documents and communications within Your possession regarding Caliber’s
appraiser selection process and how You came to be retained by Caliber.

16. All documents within Your possession about other appraisers of residential real
estate located within the Villanova, Pennsylvania geographic area.

17. All documents regarding Your policies and procedures for complying with
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applicable state and federal laws which govern your industry.
18. All documents regarding Your qualifications and professional experience.
19. All documents within Your possession regarding the terms of the Settlement
Agreement between Plaintiffs and Countrywide, entered into on November 17, 2010, and
Caliber’s performance under the Settlement Agreement.
20. All documents within Your possession regarding Caliber’s policies and
procedures relating to ensuring compliance with settlement agreements reached between
borrowers and predecessor organizations.
21. The relationship between Caliber and Clear Capital.
22. | Your Document storage, retention, and destruction policies, procedures and
practices in place from November 1, 2010, to the present.
23. Your efforts to preserve Documents relevant, or potentially relevant, to the claims
or defenses asserted in this litigation, including, but not limited to, hard copies, electronic
communications, and other electronically stored information.
24. As not otherwise set forth above, the subject matter of Plaintiffs’ Complaint in
this matter and Defendants’ Answer with affirmative defenses thereto.
MITTS LAW, LLC

Dated: March 6, 2020 /s/ Maurice R. Mitts
Maurice R. Mitts, Esquire
Attorney I.D. No. 50297
Michael J. Duffy, Esquire
Attorney I.D. No. 312459
1822 Spruce Street
Philadelphia, PA 19103
(215) 866-0112 (telephone)

(215) 866-0113 (facsimile)
Attorneys for Plaintiffs

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

SCOTT H. KORN et al.,
Plaintiffs,
Vv. Civil Action No. 2:19-cv-00226-CMR
CALIBER HOME LOANS, INC. et al.,

Defendants.

 

CERTIFICATE OF SERVICE
I, Maurice R. Mitts, Esquire, hereby certify that on March 6, 2020, I served a copy of the
foregoing Notice of Subpoena with Exhibit A on Defendants Caliber Home Loans, Inc. and LSF9

upon the following counsel of record for Defendants via the Court’s electronic filing system and

via email as set forth below:

Robert C. Folland
Barnes & Thornburg LLP
41 South High Street, Suite 3300
Columbus, OH 43215
Rob.Folland@btlaw.com
Attorney for Defendants

/s/ Maurice R. Mitts
Maurice R. Mitts, Esquire
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

SCOTT H. KORN et al.,
Plaintiffs,
v: : Civil Action No. 2:19-cv-00226-CMR
CALIBER HOME LOANS, INC. et al.,

Defendants.

 

CERTIFICATE OF SERVICE
I, Maurice R. Mitts, Esquire, hereby certify that on March 6, 2020, I served a copy of the
foregoing Praecipe to Substitute Subpoena to Clear Capital (Docket 33) with Corrected Subpoena
on Defendants Caliber Home Loans, Inc. and LSF9 upon the following counsel of record for
Defendants via the Court’s electronic filing system and via email as set forth below:
Robert C. Folland
Barnes & Thornburg LLP
41 South High Street, Suite 3300
Columbus, OH 43215

Rob.Folland@btlaw.com
Attorney for Defendants

/s/ Maurice R. Mitts
Maurice R. Mitts, Esquire
